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            EXHIBIT 2
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                                                                      Pending MDL Motions
                                                                                              In re Roundup Prods. Liab. Litig.
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Date         MDL Dkt. No.   Case Dkt. No.    Motion                                                    Case Caption                            Case Number        Party       Settled
5/13/2016                   36               NOTICE OF MOTION AND MOTION to Dismiss Case               McCall v. Mosanto Company               3:16-cv-05749      Monsanto
                                             filed by Defendant Monsanto Company.
                                                                                                                                                                              N
5/18/2016                   11               MOTION for Judgment on the Pleadings and                  Ruiz et al v. Monsanto Co.              3:16-cv-05659      Monsanto
                                             Supporting Memorandum of Law by Monsanto
                                             Company                                                                                                                          Y
5/18/2016                   12               MOTION Request for Judicial Notice in Support of          Ruiz et al v. Monsanto Co.              3:16-cv-05659      Monsanto
                                             Defendant's Motion for Judgment on the Pleadings re
                                             11 Defendant's MOTION for Judgment on the
                                             Pleadings and Supporting Memorandum of Law by
                                             Monsanto Company
                                                                                                                                                                              Y
6/24/2016                   16               Monsanto Company's Motion for Scheduling Order           Ruiz et al v. Monsanto Co.               3:16-cv-05659      Monsanto
                                             Regarding General Causation and Memorandum of Law
                                             in Support                                                                                                                       Y
4/28/2017    262                             MOTION to Strike 246 Administrative Motion to File       All Actions                              N/A                Monsanto
                                             Under Seal Reply ISO Motion - Heydens) Re Plaintiffs'
                                             Reply in Exhibit 1 and Unredacted Version of Reply filed
                                             by Monsanto Company

5/19/2017                   5                MOTION to Remand                                          Ford v. Monsanto Co.                    3:17-cv-04427-VC   Plaintiff   Y
5/19/2017                   5                MOTION to Remand                                          Platt v. Monsanto Co.                   3:17-cv-04428-VC   Plaintiff   Y
5/19/2017                   5                MOTION to Remand                                          Rochman v. Monsanto Co.                 3:17-cv-04429-VC   Plaintiff   Y
10/19/2018                  16               Letter from Gebeyehou & Monsanto re: Discovery            Gebeyehou v. Monsanto Co.               3:16-cv-05813      Plaintiff
                                             Dispute                                                                                                                          N
11/26/2018                  5                Motion for Extension of Time to Submit Proposed           Harry v. Monsanto Co.                   3:18-cv-07307-VC   Plaintiff
                                             Scheduling Order and Discovery Plan
                                                                                                                                                                              N
1/3/2019     2419                            MOTION for Summary Judgment re: Tier 1 Plaintiffs on Hardeman v. Monsanto Co., et al.             3:16-cv-0525       Monsanto
                                             Non-Causation Grounds filed by Monsanto Company Stevick v. Monsanto Co., et al.                   3:16-cv-2341
                                                                                                  Gebeyehou v. Monsanto Co., et al.            3:16-cv-5813
                                                                                                                                                                              N
1/16/2019                   6                MOTION to Amend/Correct Complaint                         Hernandez et al v. Wal-Mart Stores East, 3:19-cv-00489     Plaintiff
                                                                                                       LP et al                                                               Y
1/16/2019                   7                MOTION to Remand to State Court                           Hernandez et al v. Wal-Mart Stores East, 3:19-cv-00489     Plaintiff
                                                                                                       LP et al                                                               Y
2/12/2019    2694                            MOTION to Dismiss With Prejudice filed by Monsanto        Various                                  N/A               Monsanto
                                             Company                                                                                                                          Y
2/12/2019    2697                            MOTION to Dismiss With Prejudice filed by Monsanto        Various                                 N/A                Monsanto
                                             Company                                                                                                                          N (Several plaintiffs have not settled)
3/4/2019     2885           13               Amended MOTION to Dismiss with Prejudice (Third           Bloechl v. Monsanto Co.                 3:18-cv-01695      Monsanto
                                             Amended) filed by Defendant Monsanto Company
                                                                                                                                                                              N
3/4/2019     2885           11               Amended MOTION to Dismiss with Prejudice (Third           Sharp v Monsanto Co.                    3:18-cv-02172      Monsanto
                                             Amended) filed by Monsanto Company
                                                                                                                                                                              Y
3/19/2019                   9                Amended MOTION to Dismiss with Prejudice (Fourth          Tevis v. Monsanto Co.                   3:18-cv-03278      Monsanto
                                             Amended) filed by Monsanto Company
                                                                                                                                                                              Y
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Date         MDL Dkt. No.   Case Dkt. No.    Motion                                                  Case Caption                     Case Number        Party       Settled
4/1/2019     3233           16               Amended MOTION to Dismiss with Prejudice (Fifth         Mehrens v. Monsanto Co.          3:18-cv-01151      Monsanto
                                             Amended) filed by Defendant Monsanto Company
                                                                                                                                                                     Y
4/26/2019    3439           10               Third MOTION to Dismiss with Prejudice filed by         Riordan v. Monsanto Co.          3:18-cv-07368      Monsanto
                                             Monsanto Company                                                                                                        Y
5/21/2019    3833                            Amended MOTION to Dismiss with Prejudice (Ninth         Various                          N/A                Monsanto
                                             Amended) filed by Monsanto Company

5/29/2019                   10               MOTION for Admission Pro Hac Vice for Jason M. Zager Brumbaugh et al v. Monsanto Co.     3:19-cv-03030-VC   Monsanto
                                                                                                                                                                     N
7/16/2019    4588                            MOTION for leave to appear in Pro Hac Vice            Undefined                          N/A                Plaintiff
8/20/2019                   16               First MOTION to Remand to State Court Larimer         Blyth v. Monsanto Co. et al        3:19-cv-05651      Plaintiff
                                             County                                                                                                                  Y
8/23/2019                   19               MOTION to Dismiss by Defendant Poudre Valley Co-      Blyth v. Monsanto Co. et al        3:19-cv-05651      Monsanto
                                             Operative Association, Inc.                                                                                             Y
8/30/2019                   13               MOTION to Withdraw as Attorney                        Nurquez v. Monsanto Co.            3:18-cv-07570      Plaintiff   N
9/27/2019    6119                            MOTION to Withdraw as Attorney Kelly H. Foos filed by Mendoza v. Monsanto Co.            3:16-cv-06046      Monsanto
                                             Monsanto Company                                                                                                        Y
11/18/2019                  10               MOTION to Amend/Correct Plaintiff's Complaint         Bodiford v. Monsanto Co.           3:20-cv-01025      Plaintiff
                                                                                                                                                                     N
11/19/2019                  6                Emergency MOTION to Remand to State Court               D'Aunoy v. Monsanto Co.          3:20-cv-01014      Plaintiff
                                                                                                                                                                     Y
11/20/2019   7877           19               Motion for Summary Judgment [for Failure to Disclose Chavez v. Monsanto Co. et al.       3:18-cv-04855      Monsanto
                                             Specific Causation Expert]                                                                                              Y
11/26/2019   8005           5                Motion for Summary Judgment [re: Nebraska Wave 1 Dickey v. Monsanto Co.                  3:19-cv-04102      Monsanto
                                             Plaintiffs on Nebraksa Law Grounds]
                                                                                                                                                                     Y
11/26/2019   8005           51               Motion for Summary Judgment [re: Nebraska Wave 1        Domina v. Monsanto Co.           3:16-cv-05887      Monsanto
                                             Plaintiffs on Nebraksa Law Grounds]
                                                                                                                                                                     Y
11/26/2019   8005           5                Motion for Summary Judgment [re: Nebraska Wave 1        Pollard v. Monsanto Co.          3:19-cv-04100      Monsanto
                                             Plaintiffs on Nebraksa Law Grounds]
                                                                                                                                                                     Y
11/26/2019   8013           19               MOTION for Summary Judgment filed by Monsanto           Carriere v. Monsanto Co.         3:18-cv-05778      Monsanto
                                             Company                                                                                                                 Y
11/26/2019                  6                Motion to Withdraw as attorney by James Cook            Deneve v. Monsanto Co.           3:19-cv-07341      Plaintiff
                                                                                                                                                                     N
11/26/2019   8014           10               MOTION for Summary Judgment re: Dickey v.            Dickey v. Monsanto Co.              3:19-cv-04102      Monsanto
                                             Monsanto filed by Monsanto Company                                                                                      Y
11/26/2019   8005           9                MOTION for Summary Judgment filed by Monsanto        Janzen v. Monsanto Co.              3:19-cv-04103      Monsanto
                                             Company                                                                                                                 Y
11/26/2019   8001                            MOTION for Summary Judgment on Causation             MDL Wave I Cases                    N/A                Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiffs'
                                             Experts on Daubert Grounds re: Wave 1 Cases filed by
                                             Monsanto Company

11/26/2019                  6                Motion to Withdraw as attorney by James Cook            Wirtz v. Monsanto Co.            3:19-cv-07339      Plaintiff
                                                                                                                                                                     N
11/27/2019   8012           18               Motion to Exclude the Testimony of Specific Causation Alvarez Calderon v. Monsanto Co.   3:19-cv-01630      Monsanto
                                             Experts                                                                                                                 N
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Date         MDL Dkt. No.   Case Dkt. No.    Motion                                                  Case Caption                              Case Number     Party      Settled
11/27/2019   7999           16               MOTION for Summary Judgment On Non-Causation            Alvarez Calderon v. Monsanto Co.          3:19-cv-01630   Monsanto
                                             Grounds                                                                                                                      N
11/27/2019   8001           17               MOTION for Summary Judgment on Causation                Alvarez Calderon v. Monsanto Co.          3:19-cv-01630   Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds
                                                                                                                                                                          N
11/27/2019   8012           22               Motion to Exclude the Testimony of Specific Causation Carriere v. Monsanto Co.                    3:18-cv-05778   Monsanto
                                             Experts                                                                                                                      Y
11/27/2019   7999           20               MOTION for Summary Judgment On Non-Causation          Chavez v. Monsanto Co. et al.               3:18-cv-04855   Monsanto
                                             Grounds                                                                                                                      Y
11/27/2019   8001           21               MOTION for Summary Judgment on Causation              Chavez v. Monsanto Co. et al.               3:18-cv-04855   Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds
                                                                                                                                                                          Y
11/27/2019   8015           13               Motion to Exclude the Testimony of Dr. Kevin Palka on   Dickey v. Monsanto Co.                    3:19-cv-04102   Monsanto
                                             Daubert Grounds                                                                                                              Y
11/27/2019   8012           14               Motion to Exclude the Testimony of Specific Causation   Dickey v. Monsanto Co.                    3:19-cv-04102   Monsanto
                                             Experts                                                                                                                      Y
11/27/2019   7999           11               MOTION for Summary Judgment On Non-Causation            Dickey v. Monsanto Co.                    3:19-cv-04102   Monsanto
                                             Grounds                                                                                                                      Y
11/27/2019   8001           12               MOTION for Summary Judgment on Causation                Dickey v. Monsanto Co.                    3:19-cv-04102   Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds
                                                                                                                                                                          Y
11/27/2019   8015           58               Motion to Exclude the Testimony of Dr. Kevin Palka on   Domina v. Monsanto Co.                    3:16-cv-05887   Monsanto
                                             Daubert Grounds                                                                                                              Y
11/27/2019   8012           59               Motion to Exclude the Testimony of Specific Causation   Domina v. Monsanto Co.                    3:16-cv-05887   Monsanto
                                             Experts                                                                                                                      Y
11/27/2019   7999           56               MOTION for Summary Judgment On Non-Causation            Domina v. Monsanto Co.                    3:16-cv-05887   Monsanto
                                             Grounds                                                                                                                      Y
11/27/2019   8001           57               MOTION for Summary Judgment on Causation                Domina v. Monsanto Co.                    3:16-cv-05887   Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds
                                                                                                                                                                          Y
11/27/2019   7999           89               MOTION for Summary Judgment On Non-Causation            Giglio v. Monsanto Co.                    3:16-cv-05658   Monsanto
                                             Grounds                                                                                                                      N
11/27/2019   8001           90               MOTION for Summary Judgment on Causation                Giglio v. Monsanto Co.                    3:16-cv-05658   Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds
                                                                                                                                                                          N
11/27/2019   8012           22               Motion to Exclude the Testimony of Specific Causation   Harris et al. v. Monsanto Co. et al       3:17-cv-03199   Monsanto
                                             Experts                                                                                                                      Y
11/27/2019   8012           51               Motion to Exclude the Testimony of Specific Causation   Hernandez (Ines) et al. v. Monsanto Co.   3:16-cv-05750   Monsanto
                                             Experts                                                                                                                      Y
11/27/2019   8012           21               Motion to Exclude the Testimony of Specific Causation   Hernandez (Ruben) et al. v. Monsanto Co. 3:17-cv-07364    Monsanto
                                             Experts                                                                                                                      N
11/27/2019   8015           16               Motion to Exclude the Testimony of Dr. Kevin Palka on   Janzen v. Monsanto Co.                    3:19-cv-04103   Monsanto
                                             Daubert Grounds                                                                                                              Y
11/27/2019   8012           17               Motion to Exclude the Testimony of Specific Causation   Janzen v. Monsanto Co.                    3:19-cv-04103   Monsanto
                                             Experts                                                                                                                      Y
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Date         MDL Dkt. No.   Case Dkt. No.    Motion                                                  Case Caption                              Case Number     Party      Settled
11/27/2019   8012           32               Motion to Exclude the Testimony of Specific Causation   Johansing v. Monsanto Co.                 3:16-cv-05751   Monsanto
                                             Experts                                                                                                                      Y
11/27/2019   8012           31               Motion to Exclude the Testimony of Specific Causation   Perkins v. Monsanto Co.                   3:16-cv-06025   Monsanto
                                             Experts                                                                                                                      Y
11/27/2019   8015           12               Motion to Exclude the Testimony of Dr. Kevin Palka on   Pollard v. Monsanto Co.                   3:19-cv-04100   Monsanto
                                             Daubert Grounds                                                                                                              Y
11/27/2019   8012           13               Motion to Exclude the Testimony of Specific Causation   Pollard v. Monsanto Co.                   3:19-cv-04100   Monsanto
                                             Experts                                                                                                                      Y
11/27/2019   7999           10               MOTION for Summary Judgment On Non-Causation            Pollard v. Monsanto Co.                   3:19-cv-04100   Monsanto
                                             Grounds                                                                                                                      Y
11/27/2019   8001           11               MOTION for Summary Judgment on Causation                Pollard v. Monsanto Co.                   3:19-cv-04100   Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds
                                                                                                                                                                          Y
11/27/2019   8012           66               Motion to Exclude the Testimony of Specific Causation Sanders v. Monsanto Co.                     3:16-cv-05752   Monsanto
                                             Experts                                                                                                                      Y
11/27/2019   7999           64               MOTION for Summary Judgment On Non-Causation          Sanders v. Monsanto Co.                     3:16-cv-05752   Monsanto
                                             Grounds                                                                                                                      Y
11/27/2019   8001           65               MOTION for Summary Judgment on Causation              Sanders v. Monsanto Co.                     3:16-cv-05752   Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds
                                                                                                                                                                          Y
11/27/2019   8012           9                Motion to Exclude the Testimony of Specific Causation Tanner v. Monsanto Co.                      3:19-cv-04099   Monsanto
                                             Experts                                                                                                                      Y
11/27/2019   7999           7                MOTION for Summary Judgment On Non-Causation          Tanner v. Monsanto Co.                      3:19-cv-04099   Monsanto
                                             Grounds                                                                                                                      Y
11/27/2019   8001           8                MOTION for Summary Judgment on Causation              Tanner v. Monsanto Co.                      3:19-cv-04099   Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds
                                                                                                                                                                          Y
11/27/2019   7999           20               MOTION for Summary Judgment For Non-Causation           Carriere v. Monsanto Co.                  3:18-cv-05778   Monsanto
                                             Grounds filed by Monsanto Company
                                                                                                                                                                          Y
11/27/2019   8001           21               MOTION for Summary Judgment on Causation                Carriere v. Monsanto Co.                  3:18-cv-05778   Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds filed by Monsanto
                                             Company                                                                                                                      Y
11/27/2019   7999           20               MOTION for Summary Judgment On Non-Causation            Harris et al v. Monsanto Co. et al        3:17-cv-03199   Monsanto
                                             Grounds filed by Monsanto Company
                                                                                                                                                                          Y
11/27/2019   8001           21               MOTION for Summary Judgment on Causation                Harris et al v. Monsanto Co. et al        3:17-cv-03199   Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds filed by Monsanto
                                             Company                                                                                                                      Y
11/27/2019   7999           49               MOTION for Summary Judgment For Non-Causation           Hernandez (Ines) et al. v. Monsanto Co.   3:16-cv-05750   Monsanto
                                             Grounds filed by Monsanto Company
                                                                                                                                                                          Y
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Date         MDL Dkt. No.   Case Dkt. No.    Motion                                                  Case Caption                              Case Number     Party      Settled
11/27/2019   8001           50               MOTION for Summary Judgment on Causation                Hernandez (Ines) et al. v. Monsanto Co.   3:16-cv-05750   Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds filed by Monsanto
                                             Company                                                                                                                      Y
11/27/2019   7999           19               MOTION for Summary Judgment On Non-Causation            Hernandez (Ruben) et al. v. Monsanto Co. 3:17-cv-07364    Monsanto
                                             Grounds filed by Monsanto Company
                                                                                                                                                                          N
11/27/2019   8001           20               MOTION for Summary Judgment on Causation                Hernandez (Ruben) et al. v. Monsanto Co. 3:17-cv-07364    Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds filed by Monsanto
                                             Company                                                                                                                      N
11/27/2019   7999           14               MOTION for Summary Judgment On Non-Causation            Janzen v. Monsanto Co.                    3:19-cv-04103   Monsanto
                                             Grounds filed by Monsanto Company.
                                                                                                                                                                          Y
11/27/2019   8001           15               MOTION for Summary Judgment on Causation                Janzen v. Monsanto Co.                    3:19-cv-04103   Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds filed by Monsanto
                                             Company                                                                                                                      Y
11/27/2019   7999           30               MOTION for Summary Judgment For Non-Causation           Johansing v. Monsanto Co                  3:16-cv-05751   Monsanto
                                             Grounds filed by Monsanto Company
                                                                                                                                                                          Y
11/27/2019   8001           31               MOTION for Summary Judgment on Causation                Johansing v. Monsanto Co                  3:16-cv-05751   Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds filed by Monsanto
                                             Company                                                                                                                      Y
11/27/2019   7999           121              MOTION for Summary Judgment On Non-Causation            Mendoza v. Monsanto Co.                   3:16-cv-06046   Monsanto
                                             Grounds filed by Monsanto Company
                                                                                                                                                                          Y
11/27/2019   8001           122              MOTION for Summary Judgment on Causation                Mendoza v. Monsanto Co.                   3:16-cv-06046   Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds filed by Monsanto
                                             Company                                                                                                                      Y
11/27/2019   7999           29               MOTION for Summary Judgment On Non-Causation            Perkins v. Monsanto Co.                   3:16-cv-06025   Monsanto
                                             Grounds filed by Monsanto Company
                                                                                                                                                                          Y
11/27/2019   8001           30               MOTION for Summary Judgment on Causation             Perkins v. Monsanto Co.                      3:16-cv-06025   Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds filed by Monsanto
                                             Company                                                                                                                      Y
11/27/2019   8001           27               MOTION for Summary Judgment on Causation             Russo v. Monsanto Co.                        3:16-cv-06024   Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds filed by Monsanto
                                             Company.                                                                                                                     N
11/27/2019   8012           24               MOTION to Exclude the Testimony of Specific          Wooten et al v. Monsanto Co., et al          3:17-cv-01735   Monsanto
                                             Causation Experts Charalambos Andreadis, Clayton
                                             Smith, Edwin Alyea, Barry Boyd, Lauren Pinter-Brown,
                                             Ron Schiff, and Brent Staggs in Wave One Cases on
                                             Daubert Grounds by Monsanto Company
                                                                                                                                                                          Y
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Date         MDL Dkt. No.   Case Dkt. No.    Motion                                                    Case Caption                          Case Number     Party       Settled
11/27/2019   7999           22               MOTION for Summary Judgment On Non-Causation              Wooten et al v. Monsanto Co., et al   3:17-cv-01735   Monsanto
                                             Grounds filed by Monsanto Company
                                                                                                                                                                         Y
11/27/2019   8001           23               MOTION for Summary Judgment on Causation                  Wooten et al v. Monsanto Co., et al   3:17-cv-01735   Monsanto
                                             Grounds & Motion to Exclude Testimony of Plaintiff's
                                             Experts on Daubert Grounds filed by Monsanto
                                             Company                                                                                                                     Y
12/2/2019    7999           28               MOTION for Summary Judgment on Non-Causation              Russo v. Monsanto Co.                 3:16-cv-06024   Monsanto
                                             Grounds filed by Monsanto Company
                                                                                                                                                                         N
12/10/2019   8697           20               Administrative Motion to Exclude Testimony of             Alvarez Calderon v. Monsanto Co.      3:19-cv-01630   Plaintiff
                                             Monsanto's Specific Causation Expert Michael
                                             Grossbard, M.D.                                                                                                             N
12/11/2019                  35               Administrative Motion to File Under Seal Portions of      Johansing v. Monsanto Co              3:16-cv-05751   Plaintiff
                                             Plaintiff Peter Johansing's Opposition to Monsanto
                                             Company's Motion [ECF 32] to Exclude Testimony of
                                             Specific Causation Expert Lauren Pinter-Brown
                                                                                                                                                                         Y
12/23/2019                  28               Administrative Motion to File Under Seal re: Motion to Carriere v. Monsanto Co.                 3:18-cv-05778   Monsanto
                                             Exclude Testimony of Specific Causation Experts on
                                             Daubert Grounds filed by Monsanto Company
                                                                                                                                                                         Y
12/23/2019   8520           26               MOTION to Amend/Correct Expert Disclosure                 Chavez v. Monsanto Co., et al.        3:18-cv-04855   Plaintiff
                                                                                                                                                                         Y
12/23/2019                  36               Administrative Motion to File Under Seal re: Motion to Johansing v. Monsanto Co                 3:16-cv-05751   Monsanto
                                             Exclude Testimony of Specific Causation Experts on
                                             Daubert Grounds filed by Monsanto Company
                                                                                                                                                                         Y
12/24/2019                  29               Administrative Motion to File Under Seal filed by         Carriere v. Monsanto Co.              3:18-cv-05778   Monsanto
                                             Monsanto Company                                                                                                            Y
12/26/2019                  32               Administrative Motion to File Under Seal filed by         Carriere v. Monsanto Co.              3:18-cv-05778   Monsanto
                                             Monsanto Company                                                                                                            Y
12/26/2019                  38               Administrative Motion to File Under Seal filed by         Johansing v. Monsanto Co              3:16-cv-05751   Monsanto
                                             Monsanto Company                                                                                                            Y
1/22/2020    9114           20               MOTION to Remand                                          Rawson v. Bayer Corp., et al.         3:19-cv-08312   Plaintiff   N
1/23/2020    9173           35               MOTION to Strike 34 Objection by Plaintiff to             Carriere v. Monsanto Co.              3:18-cv-05778   Monsanto
                                             Defendant's Reply in Support of Motion for Summary
                                             Judgment and Associated Errata Sheet (Carriere v.
                                             Monsanto Company) filed by Monsanto Company
                                                                                                                                                                         Y
1/28/2020                   11               First MOTION to Withdraw as Attorney David L. Lutz        Miller et al v. Monsanto Co.          3:20-cv-00599   Plaintiff
                                                                                                                                                                         N
1/31/2020    9369           3                MOTION to Remand                                          Olah v. Monsanto Co. et al.           3:20-cv-00129   Plaintiff   Y
2/7/2020     9448           37               MOTION to Withdraw 35 MOTION to Strike 34                 Carriere v. Monsanto Co.              3:18-cv-05778   Monsanto
                                             Objection by Plaintiff to Defendant's Reply in Support
                                             of Motion for Summary Judgment and Associated
                                             Errata Sheet (Carriere v. Monsanto Company) filed by
                                             Monsanto Company
                                                                                                                                                                         Y
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                                                                                            In re Roundup Prods. Liab. Litig.
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Date         MDL Dkt. No.   Case Dkt. No.    Motion                                                  Case Caption                                Case Number          Party       Settled
2/19/2020    9602           25               Motion to Remand                                        Moore, John T., Jr. v. Monsanto Co., et al. 3:20-cv-01010        Plaintiff
                                                                                                                                                                                  N
3/5/2020     9715           26               MOTION to Remand filed by Randy Bodiford              Bodiford. v Monsanto Co.                     3:20-cv-01025         Plaintiff   N
4/14/2020    10395                           MOTION to Withdraw                                    Mowry v. Monsanto Co.                        2:20-cv-00215 (ALM)   Plaintiff   N
4/17/2020    10495          38               Motion to Amend/Correct Plaintiff's Second Amended Caruso, et al. v. Russo Hardware, et al.        3:20-cv-01017         Plaintiff
                                             Complaint, Motion for Leave to File Plaintiff's Third
                                             Amended Complaint at Law
                                                                                                                                                                                  N
5/1/2020                    7                MOTION for Leave to Appear Pro Hac Vice for Michael Kinkead v. Monsanto Co.                        3:20-cv-03447         Plaintiff
                                             L. McGlamry                                                                                                                          Y
5/26/2020    10786                           MOTION to Withdraw as Attorney Maja Lukic           Gibbs v. Monsanto Co.                          3:16-cv-05652         Plaintiff
                                                                                                 Sanders, John D. v. Monsanto Co.               3:16-cv-05752
                                                                                                 Domina v. Monsanto Co.                         3:16-cv-05887
                                                                                                 Work v. Monsanto Co.                           3:16-cv-06005
                                                                                                 Mendoza v. Monsanto Co.                        3:16-cv-06046
                                                                                                 Butsch v. Monsanto Co.                         3:17-cv-00167
                                                                                                 Gebo v. Monsanto Co.                           3:17-cv-00168                     Y
5/31/2020    10805          16               MOTION for Leave to File Amended Complaint          Grieger v. Monsanto Co.                        3:20-cv-00492         Plaintiff
                                                                                                                                                                                  N
7/15/2020    11237          13               MOTION to Withdraw as Attorney of Gregory J. Pals       Gandolfo v. Monsanto Co.                   3:17-cv-05478-VC      Plaintiff
                                                                                                                                                                                  N
3/9/2020     9745           30               Motion to Remand                                        Caruso, et al. v. Russo Hardware, et al.   3:20-cv-01017         Plaintiff
3/6/2020                                                                                                                                                                          N
                                                                                                                                                     3:20-cv-00257
2/5/2020                    7                Motion to Amend Complaint and Motion to Remand          Sapinsky v. Monsanto Co.                                         Plaintiff   N
             11511                           Suggestion of Death and MOTION to Substitute Party      Dinner v. Monsanto Co.                     3:20-cv-3360          Plaintiff
8/7/2020                                                                                                                                                                          N
8/19/2020    11586          17               Motion for Remand                                       Applegate v. Bayer A.G.                    3:19-cv-6800          Plaintiff   N
9/9/2020     11718                           Motion for Leave to Amend Complaint                     Dinner v. Monsanto Co.                     3:20-cv-3360          Plaintiff   N
9/23/2020    11818                           Motion for Leave to Appear PHV                          Guest v. Monsanto Co.                      3:20-cv-4214          Plaintiff   N
9/24/2020    11834          9                Motion to Withdraw                                      Giri v. Monsanto Co.                       3:20-cv-04750         Plaintiff   N
10/1/2020    11879          7                Motion to Remand Action to State Court                  Roybal v. Monsanto Co. et al.              3:20-cv-06235         Plaintiff   N
10/1/2020    11880          7                Motion to Remand Action to State Court                  Carson v. Monsanto Co. et al.              3:20-cv-6238          Plaintiff   N
10/23/2020   1958           10               MOTION to Substitute Party                              Glaze et al. v. Monsanto Co.               3:20-cv-00064         Plaintiff   N
10/29/2020   11980          30               Motion to Remand                                        Mowry v. Monsanto Co.                      3:20-cv-05536         Plaintiff   N
10/30/2020   11996          17               MOTION to Substitute Party                              Skundrick v. Monsanto Co.                  3:18-cv-00223         Plaintiff   Y
1/12/2020    12045          46               MOTION to Substitute Party                              Alvarez Calderon v. Monsanto Co.           3:19-cv-1630          Plaintiff   N
